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FlLED IN OPEN COURT!

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NO. 1 -04-1 103-T-An

DONNA J. SCRANTON, KE|TH

P. SCRANTON (by next friend John
Philip Scranton, father), and JOHN
PHlLlP SCRANTON,

PlaintiffS,

 

VS.

CHARLES M. KlNG and R|CH-

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LlNE ExPREss, lNc., )
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Defendants.

 

ORDER APPROVlNG COMPROM|SE OF MlNOR’S CLA|M

 

This matter came onto be heard on the 29"‘ day oprri|, 2005, before the Honorabie
James D. Todd , Judge of the United States District Court for the Western District of
Tennessee, Eastern Division, by consent ofa|l the parties hereto, upon thejoint petition this
date filed, and upon oral proof heard in open court, With Keith P. Scranton, a minor, being
present in person, along With his mother, Donna J. Scranton, and his father, John Phi|ip
Scranton, and l-lon. David Hardee, their attorney, and Hon. R. Dale Thomas, attorney for
Charles |Vl. King and Rich-Line Express, |nc., and it appearing to the Court that the
averments of said petition are true, that it is proper and manifestly to the best interests of
Keith P. Scranton that there be a compromise or settlement ofany and all claims which he
might have as a result of the accident ofJu|y 1,2003, described in thejoint petition, against
Charles |\/l. King and Rich-Line Express, |nc., their insurers, and all other persons, firms,
and corporations Whomsoever Who might be charged With liability, for the consideration of

Two Hundred and One Thousand Eight Hundred Twenty-Two and 75/100 dollars

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with RuieSB and.'or_'!Q (a) FHCP on _ ,, g § j §§

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($201,822.75) to be paid, as described in the joint petition, to or for the benefit of Keith P.

Scranton, lT lS SO ORDERED, AND,

lT |S FURTHER ORDERED that the effecting of such compromise or settlement of
all claims or demands of every kind or character which the said Keith P. Scranton or
anyone acting on his behalf has or might have against the said Charles lVl. King and Rich-
Line Express, |nc., their insurers, or any other person, firm or corporation Whomsoever who
might be charged with liability, for injuries to the person of the said Keith P. Scranton,
resulting or to result from the occurrence of July 1, 2003, for the consideration of Two
Hundred and One Thousand Eight Hundred TWenty-Two and 75/100 dollars ($201 ,822.75)
as described in the joint petition be and the same is hereby approved and confirmed by the
Court.

|T lS FURTHER ORDERED that the said John Philip Scranton, as the parent and
next friend of Keith P. Scranton, upon the paymentl as described in the joint petition, by
or on behalf of Charles l\/l. King and Rich-Line Express, tnc., of the sum of Two Hundred
and One Thousand Eight Hundred Twenty-Two and 75/100 dollars ($201 ,822.75) for the
use and benefit of Keith P. Scranton, be and he is hereby authorized, empowered and
directed to execute and deliver the Settlement Agreement and Generai Release and the
Qualified Assignment and Re|ease in the forms exhibited with the joint petition filed herein;
and that, upon such execution and delivery and the payment of such consideration, such
instrument shall have full force and effect according to its terms and it shall be considered
that the said Charles lVl. King and Rich-i_ine Express, |nc., their insurers, and all other
persons, firms and corporations whomsoever Who might be charged with liability either in

tort or by contract, are fully and finally discharged and released from any and all claims,

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demands and rights of action of every kind and character, Which the said Keith P. Scranton,

or any person acting on his behalf, might now or in the future have by reason of any
damage or injury to his person, known or unknown, resulting or to resuit from said
occurrence of July 1, 2003, described in the joint petition.

lT |S FURTHER ORDERED that the Hon. David Hardee, l-ion. l\/lark Donahoe, and
Hon. David King, attorneys for Keith P. Scranton, Donna J. Scranton, and John Philip
Scranton, are hereby allowed a fee for their services in the amount of $67,274.25 to be
paid, as described in the joint petition, out of the sum of the minor`s settiement proceeds
for the representation of the minor child, Keith P. Scranton, and that $42,548.50 paid, as
described in thejoint petition, from the sum of the minor’s settlement proceeds from which
the Plaintiffs and their attorneys will satisfy any and all subrogation rights, liens,
attachments, or claims related to said medical expenses so incurred, and any other |iens,
attachments or claims arising from or related to said occurrence, described in the joint
petition, and, and that $92,000.00 will be paid from the sum of the minor’s settlement
proceeds to purchase an annuity, as described in the joint petition, for the benefit of said
minor and made payable to said minor.

ENTERED this the ,QLJ%ay of Apri|, 2005.

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APPROVED FOR ENTRY:

HARDEE, |Vl T|N, DAU ER & DONAHOE, P.A.

  
  

BY:

 

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UNITED DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 1:04-CV-01103 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

